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 3
                              UNITED STATES DISTRICT COURT
 4
                             WESTERN DISTRICT OF WASHINGTON
                                       AT SEATTLE
 5

 6   RUSSEL H. DAWSON, Personal                         CASE NO. C19-1987RSM
     Representative of the Estate of Damaris
 7   Rodriguez, et al.,                                 ORDER GRANTING STIPULATED
                                                        MOTION TO AMEND CASE
 8                           Plaintiffs,                CAPTION

 9             v.

10   SOUTH CORRECTIONAL ENTITY
     (“SCORE”), a Governmental Administrative
11   Agency, et al.,

12                           Defendants.

13         It is hereby ordered that based on the stipulated motion of the parties, Dkt. #221, the
14 caption in this case is hereby amended to RUSSELL H. DAWSON, Personal Representative of

15 the Estate of Damaris Rodriguez v. NAPHCARE, INC., an Alabama Corporation; REBECCA

16 VILLACORTA; HENRY TAMBE; NANCY WHITNEY; BILLIE STOCKTON; BRITTANY

17 MARTIN; BROOKE WALLACE; SALLY MUKWANA; JOAN KOSANKE; RITA

18 WHITMAN, to reflect only the remaining defendants in this matter.

19         DATED this 11th day of January, 2022.
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                                               A
                                               RICARDO S. MARTINEZ
                                               CHIEF UNITED STATES DISTRICT JUDGE
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     ORDER GRANTING STIPULATED MOTION TO AMEND CASE CAPTION - 1
